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U.S. DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT see ED TEXAS

 

 

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXAS 2h
AMARILLO DIVISION DEC 28 2021
STATE OF TEXAS, et al, § CLERK: U.S. DISTRICT COURT
§ tthumz——
Plaintiffs, §
§
v. § 2:21-CV-229-Z
§
XAVIER BECERRA in his official capacity  §
as Secretary of the United States §
Department of Health §
And Human Services, ef al., §
§
Defendants. §

ORDER

On December 3, 2021, the Court entered an Order Granting Defendant’s Motion to Stay
(ECF No. 43). By that Order, the Court stayed and administratively closed the case due to the
Western District of Louisiana nationwide injunction of the CMS Vaccine Mandate. ECF No. 43.

On December 15, 2021, the Fifth Circuit narrowed the geographic scope of the injunction.
See Louisiana v. Becerra, No. 21-30734 (Sth Cir. Dec. 15, 2021). The narrowed injunction
excluded Texas thus necessitating the Court to consider Plaintiff's Motion for Preliminary
Injunction (ECF No. 6). Accordingly, the Clerk of Court is directed to lift the stay and re-open this
case for further proceedings.

SO ORDERED.

December 2¢ 2021, 4 a —

MATTHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

 
